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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

Bruce Knowlton                                )
                                              )
                      Plaintiff,              )
                                              )
       vs.                                    )
                                              )
                                                   Case No. 4:16-cv-287
Blue Cross Blue Shield of Texas, a Division   )
of Health Care Service Corporation,           )
Higginbotham Insurance Agency, Inc. and       )
Pro Power Providers, LLC                      )
                                              )
                      Defendants              )
                                              )

                         APPENDIX TO NOTICE OF REMOVAL

       Defendant Blue Cross and Blue Shield of Texas, a Division of Health Care Service

Corporation (“BCBSTX”), respectfully files the following Appendix to Notice of Removal.

       Exhibit 1:    Docket Sheet from Case No. 352-284318-16; Bruce Knowlton v. Blue
                     Cross Blue Shield of Texas, et al; In the 352nd District Court, Tarrant
                     County, Texas

       Exhibit 2:    Original Petition in Cause No. 352-284318-16

       Exhibit 3:    Original Answer of Blue Cross Blue Shield of Texas in Cause No. 352-
                     284318-16, filed April 18, 2016

       Exhibit 4:    Original Answer of Higginbotham Insurance Agency, Inc. in Cause No.
                     352-284318-16, filed April 15, 2016
       .
       Exhibit 5:    Original Answer of Pro Power Providers, LLC in Cause No. 352-284318-
                     16, filed April 8, 2016
Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16    Page 2 of 17 PageID 8


                                      Respectfully submitted,


                                      By:/s/ Andrew F. MacRae
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                                      Attorneys for Defendant
                                      Blue Cross Blue Shield of Texas




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                                                             EXHIBIT 1
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                                                              EXHIBIT 2
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     Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16               Page 12 of 17 PageID 18
                                          352-284318-16                                                 FILED
                                                                                          TARRANT COUNTY
                                                                                         4/18/2016 9:59:29 AM
                                                                                         THOMAS A. WILDER
                                   CAUSE NO. 352-284318-16                                  DISTRICT CLERK

BRUCE KNOWLTON                                        )      IN THE DISTRICT COURT
                                                      )
                   Plaintiff                          )
v.                                                    )
                                                      )      TARRANT COUNTY, TEXAS
BLUE CROSS BLUE SHIELD                                )
OF TEXAS, HIGGINBOTHAM                                )
INSURANCE AGENCY, INC. and                            )
PRO POWER PROVIDERS, LLC                              )
                                                      )
        Defendant                                     )      352ND JUDICIAL DISTRICT

                                     ORIGINAL ANSWER

        Defendant Blue Cross Blue Shield of Texas, a division of Health Care Service

Corporation, a Mutual Legal Reserve Company (“BCBSTX”), incorrectly named as Blue Cross

Blue Shield of Texas, Inc., files the following Original Answer to Plaintiff’s Original Petition.

                                         General Denial

        BCBSTX enters a General Denial pursuant to Rule 92.

        WHEREFORE, PREMISES CONSIDERED, Defendant Blue Cross Blue Shield of Texas

requests that Plaintiff take nothing by his suit, and that BCBSTX be awarded its costs of court.

BCBSTX further requests such other relief, both legal and equitable, to which it may show itself

justly entitled.




                                                                                   EXHIBIT 3
  Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16                 Page 13 of 17 PageID 19
                                          352-284318-16


                                                 Respectfully submitted,

                                                 By: /s/ Andrew F. MacRae
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                                                    Fax: (512) 637-1583
                                                    andrew@lpfirm.com

                                                 Attorney for Defendant
                                                 Blue Cross Blue Shield of Texas

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Original Answer has been
forwarded to all parties and/or counsel of record, via facsimile and/or electronic filing, this 18th
day of April, 2016, as follows:

David B. Joeckel, Jr.
The Joeckel Law Office
219 South Main Street, Suite 301
Fort Worth, Texas 76104

Daniel A. Ortiz
Giana Ortiz
The Ortiz Law Firm
1304 West Abram St., Suite 100
Arlington, Texas 76013

Kevin L. Sewell
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Tollway Plaza One
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Dallas, Texas 75248




                                                     /s/ Andrew F. MacRae
                                                     Andrew F. MacRae




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  Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16                   Page 14 of 17 PageID 20
                                           352-284318-16                                                  FILED
                                                                                            TARRANT COUNTY
                                                                                           4/15/2016 4:06:59 PM
                                                                                           THOMAS A. WILDER
                                    CAUSE NO. 352-284318-16                                   DISTRICT CLERK

BRUCE KNOWLTON                                     §   IN THE DISTRICT COURT
                                                   §
        Plaintiff,                                 §
                                                   §
vs.                                                §   TARRANT COUNTY, TEXAS
                                                   §
BLUECROSS BLUESHIELD OF TEXAS,                     §
INC., HIGGINBOTHAM INSURANCE                       §
AGENCY, INC., and                                  §
PRO POWER PROVIDERS, LLC                           §
                                                   §
        Defendants.                                §   352nd JUDICIAL DISTRICT

                          ORIGINAL ANSWER OF DEFENDANT
                       HIGGINBOTHAM INSURANCE AGENCY, INC.

        COMES NOW Defendant Higginbotham Insurance Agency, Inc., files this Original

Answer and would respectfully show the Court as follows:

                                                  I.

                                       GENERAL DENIAL

        As authorized by Rule 92 of the Texas Rules of Civil Procedure, Higginbotham generally

denies the allegations contained in Plaintiff’s Original Petition, as well as any other amended or

supplemental petition filed hereafter, and demands strict proof by a preponderance of the

evidence of all Plaintiff’s allegations.

        WHEREFORE, PREMISES CONSIDERED, Higginbotham Insurance Agency, Inc.

prays that Plaintiff takes nothing by reason of this suit, that it recover its fees and costs, and for

such other and further relief, special or general, at law or in equity, to which it may show itself

justly entitled to receive.




ORIGINAL ANSWER OF DEFENDANT
HIGGINBOTHAM INSURANCE AGENCY, INC.                                                             Page 1


                                                                                     EXHIBIT 4
  Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16                 Page 15 of 17 PageID 21
                                          352-284318-16


                                             Respectfully submitted,

                                             MARTIN, DISIERE, JEFFERSON & WISDOM, LLP


                                             By: /s Kevin L. Sewell
                                                     Kevin L. Sewell
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                                                     Telephone: (214) 420-5500
                                                     Facsimile: (214) 420-5501

                                                     ATTORNEYS FOR DEFENDANT
                                                     HIGGINBOTHAM INSURANCE
                                                     AGENCY, INC.


                                CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing document was served upon
all attorneys of record and/or pro se parties in the above-captioned cause pursuant to TEX. R. CIV.
P. 21a on this the 15th day of April, 2016 by:

Hand Delivery
Certified Mail
Fax Transmittal:
Electronic Mail:                      X



                                             /s Kevin L. Sewell
                                             Kevin L. Sewell




ORIGINAL ANSWER OF DEFENDANT
HIGGINBOTHAM INSURANCE AGENCY, INC.                                                          Page 2
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                                             352-284318-16                                             FILED
                                                                                         TARRANT COUNTY
                                                                                         4/8/2016 3:38:21 PM
                                                                                        THOMAS A. WILDER
                                     CAUSE NO. 352-284318-16                               DISTRICT CLERK

BRUCE KNOWLTON                                   §           IN THE DISTRICT COURT
         Plaintiff                               §
                                                 §
                                                 §
v.                                               §           TARRANT COUNTY, TEXAS
                                                 §
                                                 §
BLUECROSS BLUESHIELD                             §
OF TEXAS, INC., HIGGINBOTHAM                     §
INSURANCE AGENCY, INC., and                      §
PRO POWER PROVIDERS, LLC                         §           352nd JUDICIAL DISTRICT


         DEFENDANT PRO POWER PROVIDERS, LLC’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW PRO POWER PROVIDERS, LLC (“Pro Power”), a Defendant herein,

and makes and files its Original Answer to Plaintiff’s Original Petition and would show the

Court as follows:

                                                       I.

        Pro Power denies each and every, all and singular, the allegations contained in Plaintiff’s

Original Petition, and demands strict proof thereof. By this denial, Pro Power respectfully

requests that the Court require Plaintiff to prove his cause of action, and any and all amendments

thereto, by a preponderance of the evidence as is required by the Texas Rules of Civil Procedure,

the Texas Constitution and the laws of the State of Texas.

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing

by his suit and that Defendant go hence with his costs, and for such other and further relief to

which Defendant may be justly entitled.




Defendant Pro Power Providers, LLC’s Original Answer                                         Page 1
                                                                                  EXHIBIT 5
  Case 4:16-cv-00287-A Document 1-1 Filed 04/22/16                 Page 17 of 17 PageID 23
                                             352-284318-16



                                                             Respectfully submitted,

                                                             THE ORTIZ LAW FIRM
                                                             1304 West Abram Street, Suite 100
                                                             Arlington, Texas 76013
                                                             817-861-7984 Telephone
                                                             817-861-8909 Facsimile


                                                       By: _/s/_Daniel A. Ortiz__________
                                                              DANIEL A. ORTIZ
                                                              State Bar No. 15323100
                                                              dortiz@danielortizlaw.com

                                                             GIANA ORTIZ
                                                             State Bar No. 24053824
                                                             gortiz@danielortizlaw.com

                                                             ATTORNEYS FOR DEFENDANT
                                                             PRO POWER PROVIDERS, LLC

                                   CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing instrument has
been forwarded to the following counsel of record on the 8th day of April, 2016 via eservice:

        David B. Joeckel, Jr.
        The Joeckel Law Office
        219 South Main Street, Suite 301
        Fort Worth, Texas 76104
        Attorney for Plaintiff
        dbj@joeckellaw.com




                                                             /s/ Daniel A. Ortiz
                                                             Daniel A. Ortiz




Defendant Pro Power Providers, LLC’s Original Answer                                        Page 2
